Case 2:05-CV-02357-SHI\/|-STA Document 10 Filed 08/19/05 Page 1 of 2 Page|D 12

FII.ED BY ___, __ D_C_
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 _
WESTERN D:vISION AUG 19 PH 3' 35

 

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CLEP.K, U$. “HT€:€§CT COURT
ALL :ANCE MARKET :NG GROUP, LLC , V»~'/’S §§ @'?-; _‘-.r{§??\.»iPZ~HS
Plaintiff,
VS_ No. 05-2357-MaAn

SUN GROUP, INC.,

Defendant.

 

ORDER OF DISMISSAL

 

The plaintiff has filed a notice of voluntary dismissal
without prejudice in this matter. For good cause shown, this
matter is DISMISSED without prejudice.

It is so ORDERED this lsi<\day of August, 2005.

y/w_..~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02357 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

